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                 4                                    UNITED STATES DISTRICT COURT
                 5                                           DISTRICT OF NEVADA
                 6                                                       ***
                 7    SOCORRO CHAVEZ, et al.,                                   Case No. 2:20-CV-1222 JCM (DJA)
                 8                                              Plaintiff(s),                  ORDER
                 9               v.
               10     WYNDHAM VACATION RESORTS,
                      INC., et al.,
               11
                                                              Defendant(s).
               12     V




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                                 Presently before the court is defendant Joseph Young’s motion to dismiss. (ECF No. 5).
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                          Also before the court is defendants Wyndham Vacation Resorts, Inc. (“WVR”), Wyndham
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                          Resort Development Corporation (“WRDC”), Wyndham Worldwide Operations, Inc. (“WWO”),
               16
                          Wyndham Vacation Ownership, Inc.’s (“WVO”) motion to dismiss. (ECF No. 6). Plaintiffs
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                          Socorro Chavez and Juan Chavez responded. (ECF No. 13).
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                                 On July 17, 2020, plaintiffs filed a notice of voluntary dismissal of only defendants
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                          Wyndham Resort Development Corp.; Wyndham Worldwide Operations, Inc.; Wyndham
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                          Vacation Ownership, Inc.; and Joseph Young, without prejudice. (ECF No. 12). On that same
               21
                          day, plaintiff filed an amended complaint as a matter of course. (ECF No. 10). The instant
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                          motions pertain to plaintiff’s initial complaint. (ECF No. 1).
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                                 In light of the foregoing, these motions are rendered moot.
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               25                Accordingly,

               26                IT IS HEREBY ORDERED, ADJUDGED, and DECREED that defendant Joseph
               27         Young’s motion to dismiss (ECF No. 5) be, and the same hereby is, DENIED as moot.
               28

James C. Mahan
U.S. District Judge
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                1           IT IS FURTHER ORDERED that defendants Wyndham Vacation Resorts, Inc.
                2     (“WVR”), Wyndham Resort Development Corporation (“WRDC”), Wyndham Worldwide
                3     Operations, Inc. (“WWO”), Wyndham Vacation Ownership, Inc.’s (“WVO”) motion to dismiss
                4     (ECF No. 6) be, and the same hereby is, DENIED as moot.
                5           DATED July 31, 2020.
                6                                              __________________________________________
                                                               UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                              -2-
